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                United States Court of Appeals for the Tenth Circuit
                                       Office of the Clerk
                               Byron White United States Courthouse
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                                     www.ca10.uscourts.gov
Christopher M. Wolpert                                                           Jane K. Castro
   Clerk of Court                                                              Chief Deputy Clerk
                         Instructions for Cases Set for Oral Argument

Dear Counsel/Litigant:

The United States Court of Appeals for the Tenth Circuit will hear in-person oral arguments
during the upcoming Term of Court. Out of consideration for our judges, staff, and others who
have business with the court, please do not enter the Byron White United States Courthouse if
you have COVID-19 and are still infectious; have been asked to isolate; are experiencing
possible COVID-19 symptoms; and/or are symptomatic from another contagious illness.

Counsel must electronically file the following applicable form(s) within 10 days of the date
this notice is filed. All required oral argument forms can be found here. Arguing counsel who
have not previously entered an appearance must do so prior to filing the required form(s).
    Calendar Acknowledgment Form: Only counsel presenting oral argument must file
    this form. Pro se parties, counsel in cases submitted on the briefs, and counsel not
    presenting oral argument need not file an acknowledgment form. Counsel for an
    amicus curiae may not argue without permission of the court; amicus counsel need not file
    an acknowledgment form unless and until granted permission to participate in argument.
    Custody Status Questionnaire: This form must be filed by counsel for the defendant in a
    direct criminal appeal (including interlocutory appeals, regardless of which party filed the
    appeal), counsel for the petitioner in a habeas corpus or immigration appeal, or counsel for
    any appellant or appellee who is in custody in any other appeal. This form must be filed
    even if the case has been submitted on the briefs. If the party is pro se, the form need
    not be submitted.
Motions to waive or postpone oral argument must be filed well in advance. See 10th Cir. R.
34.1(A)(2) and (3). Unless the court orders submission on the briefs or postponement, attendance
in person at oral argument is required. The court will not grant motions to participate in oral
argument remotely absent extraordinary circumstances. Arguing attorneys must check-in 45
minutes before the argument session is scheduled to begin. Please contact the Calendar Team
with any questions: 303-335-2708 or 10th_Circuit_Calteam@ca10.uscourts.gov.




                                         CHRISTOPHER M. WOLPERT, Clerk
